 Case 1:04-cv-06490-OWW-GSA    Document 171   Filed 09/19/07   Page 1 of 2


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 8                        UNITED STATES DISTRICT COURT
                         EASTERN DISTRICT OF CALIFORNIA
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11   MICHAEL NEVEU,                )
                                   )
12                                 )
                    Plaintiff,     )            1:04-cv-6490 OWW LJO
13                                 )
          v.                       )
14                                 )
     CITY OF FRESNO, et al.,       )            ORDER SETTING FURTHER
15                                 )            CASE SCHEDULE
                                   )
16                  Defendant      )
     ______________________________)
17
18        Pursuant to the submission of the parties, the following
19   schedule is set for this action:
20        The pre-trial conference shall be held on October 22, 2007,
21   at 11:00 AM in Courtroom Three before Judge Wanger.         A joint
22   pre-trial statement shall be filed in accordance with the local
23   rules.    Motions in limine shall be filed by October 26, 2007.
24   Responses to motions in limine shall be filed by November 2, 2007.
25   The hearing on the motions in limine will be held on
26   November 9, 2007, at 12:00 p.m. in Courtroom Three before Judge
27   Wanger.   The jury trial shall begin at November 27, 2007 at
28                                      1
 Case 1:04-cv-06490-OWW-GSA      Document 171   Filed 09/19/07   Page 2 of 2


 1   9:00 a.m. in Courtroom Three before Judge Wanger.
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                                                         IT IS SO ORDERED.
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     Dated: September 15, 2007             /s/ Oliver W. Wanger
 5   emm0d6                           UNITED STATES DISTRICT JUDGE
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